Filed 01/29/18                                     Case 17-01095                                             Doc 26
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            12   Attorneys for HealthCare Conglomerate Associates, LLC

            13
                                        UNITED STATES BANKRUPTCY COURT
            14
                              EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
            15

            16                                                      Case No.: 17-13797-9-B
                  In re:
            17
                  TULARE LOCAL HEALTHCARE DISTRICT                  Chapter 9
            18    dba TULARE REGIONAL MEDICAL CENTER,
                                                                    ADV. PROC. NO.: 17-01095-B
            19                      Debtor.
                  _________________________________________         DC No.: OHS-3
            20
                  HEALTHCARE CONGLOMERATE                           HEALTHCARE CONGLOMERATE
            21
                  ASSOCIATES, LLC,                                  ASSOCIATES, LLC’S MOTION TO
            22                                                      STRIKE PORTIONS OF ANSWER
                                      Plaintiff,
                                                                    OF TULARE LOCAL
            23                                                      HEALTHCARE DISTRICT DBA
                  v.
            24                                                      TULARE REGIONAL MEDICAL
                  TULARE LOCAL HEALTHCARE DISTRICT                  CENTER
            25    dba TULARE REGIONAL MEDICAL CENTER,
                  and DOES 1 through 20,                            Date:     March 12, 2018
            26                                                      Time:     10:30 a.m.
                                      Defendant.                    Dept:     Courtroom 13
            27
                                                                    Judge:    Hon. René Lastreto II
            28    AND RELATED COUNTER-CLAIM
                                                          1
                                                                    HCCA’S MOTION TO STRIKE PORTIONS OF ANSWER
Filed 01/29/18                                      Case 17-01095                                                        Doc 26



             1           PLEASE TAKE NOTICE THAT on March 12, 2018, at 10:30 a.m., or as soon

             2   thereafter as the matter may be heard, before the Honorable René Lastreto II of the above-entitled

             3   Court located at 2500 Tulare Street, Fresno, California 93721, HealthCare Conglomerate

             4   Associates, Inc., will and hereby does move the Court pursuant to Federal Rule of Civil

             5   Procedure 12(f) and Federal Rule of Bankruptcy Procedure 7012(b) for an order striking portions

             6   of the Answer of Tulare Local Healthcare District dba Tulare Regional Medical Center (the

             7   “Answer” filed by “TRMC”) that are redundant, immaterial, impertinent, scandalous and raise

             8   insufficient affirmative defenses. The Answer fails to allege any factual basis for a number of the

             9   affirmative defenses it asserts, and several other “affirmative defenses” raised by TRMC are not,
            10   in fact, affirmative defenses at all. Plaintiff therefore respectfully requests an order striking the

            11   following portions of the Answer (encompassing affirmative defenses numbered 1, 3-17):

            12               •    Page 7, lines 11-14; and

            13               •    Page 7, line 20 through Page 10, line 17.

            14           The Motion is based upon this Motion, the memorandum of points and authorities in

            15   support hereof and filed herewith, all papers and pleadings on file in this case and this adversary

            16   proceeding, and upon such other evidence and argument as the Court may consider at or before

            17   the hearing on this Motion.

            18

            19   Dated: January 29, 2018                        MARC A. LEVINSON
                                                                CYNTHIA J. LARSEN
            20                                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
            21                                                  HAGOP T. BEDOYAN
                                                                LISA HOLDER
            22                                                  KLEIN, DENATALE, GOLDNER, COOPER,
                                                                ROSENLIEB & KIMBALL LLP
            23

            24                                                  By            /s/ Marc A. Levinson
                                                                                Marc A. Levinson
            25                                                                Attorneys for Plaintiff
                                                                     HealthCare Conglomerate Associates, LLC
            26
                 OHSUSA 767957223.1
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                                                                              HCCA’S MOTION TO STRIKE PORTIONS OF ANSWER
